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                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                           Case # 1:07CR14-005

DANIEL M. KLEIN
                                                               USM # 18415-075

                                                               Defendant’s Attorney:
                                                               Daniel Daly (Appointed)
                                                               304 S. Albany Avenue
                                                               Tampa, FL 33672
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts 1 and 2 of the Indictment on October 17, 2007. Accordingly,
IT IS ORDERED that the defendant is adjudged guilty of such count(s) which involve(s) the
following offense(s):

       TITLE/SECTION                            NATURE OF              DATE OFFENSE
          NUMBER                                 OFFENSE                CONCLUDED                COUNT

 18 U.S.C. §§ 1343 and                Conspiracy to Commit Wire       February 28, 2005           One
 1349                                 Fraud

 18 U.S.C. §§ 1029(a)(2),             Use of an Unauthorized           January 13, 2004           Two
 1029(c) and 2                        Access Device

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Count Three dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.



                                                               Date of Imposition of Sentence:
                                                               March 16, 2009



                                                               s/Maurice M. Paul
                                                               MAURICE M. PAUL, SENIOR
                                                               UNITED STATES DISTRICT JUDGE
                                                               March 18, 2009
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                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of Twenty-Four (24) months as to Counts 1 and 2, each to run
concurrent with one another.

The Court recommends to the Bureau of Prisons:

          The defendant shall receive (90) days credit for time served.

         The defendant shall surrender to the United States Marshal in Louisville, KY or to the
institution designated by the Bureau of Prisons on April 17, 2009, no later than 12:00 noon. The
O/R bond is continued until the executed return of judgment is filed with the court at which time the
bond is exonerated.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                              SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Three (3) years as to Counts 1 and 2, each to run concurrent with one another.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

               The defendant shall not commit another federal, state, or local crime and shall not
possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

      The defendant shall not possess a firearm, destructive device, or any other dangerous
weapon.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.


                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;
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9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;

12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.

15.       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
          weapon.

16.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.


                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised
          release:

          The defendant shall not own or possesses a firearm, dangerous weapon or destructive
          device.

          The defendant shall remain gainfully employed or actively seek employment while under
          supervision.

          The defendant shall submit all financial documents as requested by the probation officer.

          The defendant shall not open additional lines of credit or bank accounts without the
          approval of the probation officer.

          The defendant shall pay any unpaid restitution in monthly installments of not less than
          $200.00, to commence no later than 60 days after release from imprisonment.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




          Defendant                                                        Date




          U.S. Probation Officer/Designated Witness                        Date
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                                     CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).


                                                           SUMMARY
           Special
     Monetary Assessment                                      Fine                     Restitution
                $200.00                                       NONE                    $277,480.91




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed.



                                                      RESTITUTION

Restitution in the amount of $277,480.91 is imposed.

The defendant shall make restitution to the following victims in the amounts listed below.


                                                           Total Amount                Amount of
           Name of Payee                                      of Loss              Restitution Ordered
          Citigroup Investigative Services                   $215,500.91            $215,500.91

          GE Money Bank                                       $61,980.00             $61,980.00
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       If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise. If nominal payments are made by the defendant
the court authorizes those payments to be made to the victims on a rotating basis.

       The amount of loss and the amount of restitution ordered will be the same unless, pursuant
to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the
Statement of Reasons page.

Restitution in the amount of $277,480.91 is hereby ordered jointly and severally with: Co-
defendants.


The Court has determined that the defendant does not have the ability to pay interest. It is
ORDERED that:

                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties
in full immediately

in installments to commence 60 day(s) after release from imprisonment. In the event the entire
amount of criminal monetary penalties imposed is not paid prior to the commencement of
supervision the U.S. probation office shall pursue collection of the amount due, and shall request
the court to establish a payment schedule if appropriate; or

In Monthly installments of not less than $200.00 over a period of to commence 60 days after
release from imprisonment.

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to the
commencement of supervision, the U.S. probation officer shall pursue collection of the amount due.
The defendant will receive credit for all payments previously made toward any criminal monetary
penalties imposed.
